
PER CURIAM.
hThe Office of Disciplinary Counsel (“ODC”) commenced an investigation into allegations that respondent was arrested and charged with driving under the influence of alcohol. He subsequently provided false and misleading information to an administrative law judge and to a clinical psychologist regarding the circumstances of his arrest. Prior to the institution of formal charges, respondent and the ODC submitted a joint petition for consent discipline. Having reviewed the petition,
IT IS ORDERED that the Petition for Consent Discipline be accepted and that Gregory Thomas Akers, Louisiana Bar Roll number 33497, be suspended from the practice of law for a period of one year and one day. It is further ordered that this suspension shall be deferred in its entirety and that respondent shall be placed on probation for a period to coincide with the remaining duration of his monitoring agreement with the Judges and Lawyers Assistance Program.
IT IS FURTHER ORDERED that all costs and expenses in the matter are assessed against respondent in accordance with Supreme Court Rule XIX, § 10.1, with legal interest to commence thirty days from the date of finality of this court’s judgment until paid.
